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                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF MISSISSIPPI

IN RE: MICHAEL DEAN TAYLOR
       STEPHANIE DAWN TAYLOR
       DEBTOR(S)
                                                                                  CHAPTER 13 BANKRUPTCY
DAVID RAWLINGS, TRUSTEE                                                              CASE NO. 23-00830 KMS

                                MOTION TO ALLOW LATE FILED CLAIM


COMES NOW, the Trustee, David Rawlings, and files this Motion to Allow the following Late Filed Claim:


    REPUBLIC FINANCE, LLC
    282 TOWER ROAD
    PONCHATOULA, LA 70454

    Court Claim No. 18

    Amount of Claim: $12,606.07

    Classification: SECURED

    Trustee has reviewed the above Late Filed Claim and recommends that it would be in the best interests of the
Debtors to allow said Claim and pay the same in the manner classified, pursuant to the provisions of the
Confirmed Plan and other orders of the Court. Trustee should be authorized to adjust the amount of the plan
payment, as needed, to pay this Claim in the time remaining in the Plan.


                                                                 /s/ David Rawlings
                                                                 David Rawlings, Trustee

DAVID RAWLINGS, TRUSTEE
P.O. BOX 566
HATTIESBURG, MS 39403
Telephone: (601) 582-5011




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                                       CERTIFICATE OF SERVICE

    I, David Rawlings, do hereby certify that on July 12, 2023, I forwarded a true and correct copy of the
foregoing pleading, via the Court's ecf filing system, to: the U.S. Trustee, 501 East Court Street, Suite 6-430,
Jackson, Mississippi 39201 and the Debtor's Attorney; and by U.S. Mail, postage prepaid to: the Debtor and the
interested parties, as listed below.


 MICHAEL DEAN TAYLOR                                         THOMAS C. ROLLINS, JR
 STEPHANIE DAWN TAYLOR                                       P O Box 13767
 143 Holly Grove Cir                                         Jackson, MS 39236
 Braxton, MS 39044

 REPUBLIC FINANCE, LLC                                       Republic Finance
 282 TOWER ROAD                                              PO Box 326
 PONCHATOULA, LA 70454                                       Magee, MS 39111

                                                             /s/ David Rawlings
                                                             DAVID RAWLINGS, TRUSTEE




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